                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                               No. 12-CR-2024-LRR
 vs.                                                          ORDER
 APRIL TILLMAN,
              Defendant.
                               ____________________


       On July 24, 2013, the court accepted the jury verdict finding Defendant April
Tillman guilty on Count 1 of the Indictment.
       Accordingly, IT IS ORDERED as follows:
       1.    Defendant is adjudicated guilty of Count 1 of the Indictment.
       2.    The United States Probation Office shall conduct a presentence investigation
             and prepare a report.
       3.    The attorneys shall timely comply with the deadlines for preparation of the
             presentence report.
       4.    Defendant is to remain in custody pending sentencing.
       IT IS SO ORDERED.
       DATED this 25th day of July, 2013.




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